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6
                             UNITED STATES DISTRICT COURT
7                                 DISRTICT OF NEVADA
8

9    KRISTINE VARGAS                                   Case No.: 2:21-cv-00519-GMN-BNW
10                  Plaintiff,                         NOTICE OF SETTLEMENT
11          vs.
12
     USAA FEDERAL SAVINGS BANK
13
                   Defendant.
14

15

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17
            NOTICE IS HEREBY GIVEN that Plaintiff Kristine Vargas and Defendant

18   USAA Federal Savings Bank (“USAA”), have settled all claims between them in this

19   matter. The parties are in the process of completing final settlement documents and
20
     expect to file a Stipulation of Dismissal within the next forty-five (45) days. Plaintiff
21
     requests that the Court vacate all pending deadlines in this matter. Plaintiff also requests
22
     that the Court retain jurisdiction for any matters related to completing and/or enforcing
23

24   settlement.

25
       RESPECTFULLY SUBMITTED,



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          Case 2:21-cv-00519-GMN-BNW Document 36 Filed 09/16/21 Page 2 of 2




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       Dated: September 16, 2021
2

3                                                 By: /s/Steven A. Alpert
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8                                                 Kristine Vargas
9
                                  CERTIFICATE OF SERVICE
10

11          I hereby certify that on September 16, 2021, I electronically filed the foregoing

12   with the Clerk of the Court using the ECF system, which will send notice of such filing
13
     to all attorneys of record in this matter.
14
            /s/Jacey Gutierrez
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